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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

J.G.G., et al.,                                *
                                               *
        Plaintiffs,                            *
                                               *
        v.                                     *       Civil Action No. 1:25-cv-00766 (JEB)
                                               *
DONALD J. TRUMP, et al.,                       *
                                               *
        Defendants.                            *
                                               *
*       *         *    *       *       *       *       *       *       *       *       *         *

                  AMICI CURIAE BRIEF IN OPPOSITION TO DEFENDANTS’
                     NOTICE INVOKING STATE SECRETS PRIVILEGE

        Heidi Kitrosser, Mark J. Rozell, and Mitchel A. Sollenberger (collectively “Amici”)

respectfully submit this Amici Curiae Brief in Opposition to Defendants’ Notice , Dkt. #5 (filed

Oct. 19, 2021).

                               INTERESTS OF AMICI CURIAE 1

        Amici are law professors and/or scholars who teach, research, and/or write about topics

related to governmental privileges. They submit this brief in support of Plaintiffs to explain why

there is no legitimate basis for an invocation of the state secrets privilege in this case and, even if

one were theoretically to exist, that the Government has not met its burden for its extraordinary

claims. Their interest in this case is ensuring that this powerful governmental privilege cannot be

abused to suit the whims of Executive Branch officials purely seeking to avoid accountability for

their actions.



1
 Pursuant to Federal Rule of Appellate Procedure 29(a)(4), as incorporated by this Court’s Local
Civil Rule 7(o)(5), undersigned counsel states that no party’s counsel authored this brief in
whole or in part. Nor did any party or party’s counsel, or any other person other than amici
curiae or their counsel, contribute money that was intended to fund preparing or submitting this
brief.
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       Because Plaintiffs have ably explained why the information at issue in this case is not

closely held, let alone classified, the primary purpose of this brief is to provide more context to

the questions before the Court and address points which warrant elaboration beyond what the

parties have written. To be clear, however, Amici agree with and endorse Plaintiffs’ arguments

regarding the lack of merit to the Government’s contentions.

                                           ARGUMENT

       There are numerous issues with the Government’s attempt to invoke the state secrets

privilege, most of which Plaintiffs have already identified. In the interest of judicial economy,

Amici will limit this brief to the most glaring examples, whether because they are intentionally

misleading or because they are simply wrong.

I.     THERE ARE NO SEPARATION OF POWERS CONCERNS

       Perhaps the most egregious example of overreach in the Government’s Notice is the

naked claim—without any support—that the question before the Court has anything to do with

separation of powers. (See, e.g., Not. Invoking State Secrets Privilege, Dkt. #56, at 1 (filed Mar.

24, 2025) (“Further intrusions on the Executive Branch would present dangerous and wholly

unwarranted separation-of-powers harms with respect to diplomatic and national security

concerns that the Court lacks competence to address.”) [hereinafter Gov’t Notice].) By making

this claim, the Government attempts to conflate two very different privileges while only claiming

one: the one that does not involve separation of powers.

       As the Government recognizes—apparently without recognizing the significance—“[t]he

state secrets privilege is a common law evidentiary rule that protects information from discovery

when disclosure would be inimical to the national security.” (Id. at 2-3 (emphasis added)

(quoting In re United States, 872 F.2d 472, 472 (D.C. Cir. 1989).) This distinction is fatal to the

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Government’s talismanic invocation of the separation of powers, as summarized by Wright and

Graham, inter alia:

       Some writers have argued that the state secrets privilege is constitutionally
       required. They rely upon the Supreme Court’s apparent conflation of the state
       secrets and executive privileges in the Watergate Tapes Case. The argument
       seems to be based on the doctrine of separation of powers. It apparently assumes
       that the Constitution gives the executive branch the exclusive power to determine
       what national security requires by way of secrecy; hence, any attempt by
       Congress or the courts to limit such secrecy by refusing the recognize or limiting
       governmental secrecy is an invasion of the Presidential prerogative and hence
       unconstitutional. However, the Supreme Court does not seem to think that it was
       acting unconstitutionally when it promulgated Rejected Rule 509 over the
       objections of the executive branch that it provided insufficient protection for state
       secrets. Nor did anyone argue that Congress acted in violation of the Constitution
       when it declined to adopt the Rejected Rule and left the question of whether or
       not to recognize a privilege for state secrets and the scope of that privilege to the
       courts. The better view would seem to be that the state secrets privilege is not a
       constitutional privilege, but may be altered by legislation or judicial decision.

Charles Alan Wright & Kenneth W. Graham, Jr., 26 Fed. Prac. & Proc.: Evid. § 5663 (1st ed.)

(footnotes omitted) (citing multiple sources).

       The privilege that the Government is trying to invoke by implication—but cannot in

reality invoke—is a narrow subcategory of executive privilege that pertains to “military or

diplomatic secrets” that is constitutional in nature, although most court opinions, briefs, and

articles only cite dicta from United States v. Nixon in support of its existence. That case, in

which the President attempted to invoke a blanket executive privilege over all Presidential

communications and was denied by a unanimous Court, contained the dicta:

       Absent a claim of need to protect military, diplomatic, or sensitive national
       security secrets, we find it difficult to accept the argument that even the very
       important interest in confidentiality of Presidential communications is
       significantly diminished by production of such material for in camera inspection
       with all the protection that a district court will be obliged to provide.

       *       *       *


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       [The President] does not place his claim of privilege on the ground they are
       military or diplomatic secrets. As to these areas of Art. II duties the courts have
       traditionally shown the utmost deference to Presidential responsibilities.

       *       *       *

       Nowhere in the Constitution, as we have noted earlier, is there any explicit
       reference to a privilege of confidentiality, yet to the extent this interest relates to
       the effective discharge of a President’s powers, it is constitutionally based.

418 U.S. 683, 711 (1974).

       Over the years this language has been twisted and tangled into the following virtually

unrecognizable staple of Government pleadings:

       Any doubt that the privilege is rooted in the Constitution was dispelled in United
       States v. Nixon, in which the Supreme Court explained that, to the extent a claim
       of privilege “relates to the effective discharge of the President’s powers, it is
       constitutionally based.” The Court went on to recognize expressly that a “claim of
       privilege on the ground that [information constitutes] military or diplomatic
       secrets”—that is, the state secrets privilege—necessarily involves “areas of Art. II
       duties” assigned to the President.

       *       *       *

       It is well settled . . . that the courts should [determine if the privilege has been
       invoked properly] by according the “utmost deference” to the expertise and
       judgment of national-security officials.

Letter from U.S. Att’y Gen. Michael Mukasey to Sen. Patrick Leahy (Mar. 31, 2008) [hereinafter

Mukasey letter], available at http://www.fas.org/sgp/jud/statesec/ag033108.pdf (last accessed

Apr. 1, 2025). More alarmingly, some courts have on occasion cited twisted versions of this

dicta falsely equating the state secrets privilege (which was not at issue in Nixon) with executive

privilege. For instance, the Fourth Circuit characterized Nixon as “observing that the state secrets

privilege provides exceptionally strong protection because it concerns ‘areas of Art. II duties [in

which] the courts have traditionally shown the utmost deference to Presidential responsibilities.’”

El-Masri v. United States, 479 F.3d 296, 303 (4th Cir. 2007) (emphasis added). In contrast, the

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most cited case for the standard of “utmost deference” to the Executive Branch in national

security matters, Halkin v. Helms (a later iteration of which the Government cites no less than

four times), itself clarified that “the Court in United States v. Nixon strongly indicates that state

secrets are not analogous to the Presidential communications at issue there.” 598 F.2d 1, 7 (D.C.

Cir. 1978).

       Lastly, insofar as the Government is arguing that the state secrets privilege itself presents

separation of powers concerns, the claim that the Executive Branch has plenary control over all

classified information issues has been comprehensibly refuted for decades through the simple act

of legislation. Without going into a complete discussion of the various ways in which the statutes

confer authority on courts to make determinations regarding classified information, it will suffice

for the purposes of this brief to point out that Congress has on numerous occasions explicitly

conferred such authority—often over the objections of the Executive Branch—with such

examples as the Classified Information Procedures Act, 18 U.S.C. app. 3 §§ 1-16; the Foreign

Intelligence Surveillance Act, Pub. L. No. 95-511 (codified as amended at 50 U.S.C. §§ 1801-

1885 and in scattered sections of 18 U.S.C.); and the Freedom of Information Act, 5 U.S.C. §

552 (most notably § 552(a)(4)(8), which expressly requires judges to review agency invocations

of Exemption (b)(1), dealing with classified materials, de novo).

       In short, Judge Sullivan could have been describing the Government’s position in this

case when he wrote over two decades ago:

       If this were the law, the Pentagon Papers case, New York Times Co. v. United
       States, which allowed the publication of classified material, was wrongly decided.
       If this were the law, Snepp [v. United States] and McGehee [v. CIA], which
       require judicial review of pre-publication classification decisions, were wrongly
       decided. If this were the law, the provision of the Freedom of Information Act that
       allows judicial review of documents withheld for national security purposes
       would be unconstitutional. If this were the law, the provisions of the Classified
       Information [Procedures] Act that require disclosure of classified information to
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       criminal defense counsel, would be unconstitutional. Finally, if the government's
       theory of separation of powers carried the day, Youngstown Sheet & Tube Co. v.
       Sawyer in [which] the Supreme Court held that the President unconstitutionally
       assumed the legislative power in the name of national security, was wrongly
       decided.

Stillman v. DOD, 209 F. Supp. 2d 185, 212-13 (D.D.C. 2002) (citations omitted), rev’d on other

grounds sub nom. Stillman v. CIA, 319 F.3d 546 (D.C. Cir. 2003).

II.    REGARDLESS OF CLASSIFICATION, THE GOVERNMENT FAILS

       As Plaintiffs point out, the Government has never actually claimed that the information in

question is classified. (Pls.’ Resp. Defs.’ Invocation of the State Secrets Privilege, Dkt. #69, at 13

(filed Mar. 31, 2025) [hereinafter Pls.’ Resp.].) This is a critical distinction separating the

Government’s claim in this case from all other state secrets privilege cases: neither Amici nor

their undersigned counsel have found a single case where the Government attempted to invoke

the state secrets privilege to withhold wholly unclassified information. 2

       However, while Plaintiffs briefly discuss the evidence that the Government would need

to supply to show that the information was in fact classified (id. at 13-14), they overlook one

critical flaw in any potential classification claim: the information cannot be classified. Executive

Order 13,526 established the rules for the current classification system, and that Order is explicit:

       In no case shall information be classified, continue to be maintained as classified,
       or fail to be declassified in order to:

       (1) conceal violations of law, inefficiency, or administrative error;
       (2) prevent embarrassment to a person, organization, or agency; . . . or
       (4) prevent or delay the release of information that does not require protection in
       the interest of the national security.

Exec. Order 13,526 § 1.7(a).



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 To be clear, this is not to say that unclassified information is never the subject of a state secrets
privilege invocation. However, when it is, it is always intertwined with classified information.
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        This provision is often misunderstood to mean that information may not be classified for

any of these reasons, but it is in fact significantly more strict in that respect. What this means in

practice is that information may not be classified solely for any of these reasons. For instance, if

a covert surveillance program were collecting information on U.S. citizens in violation of the

law, information about that program could still be properly classified, not because it concealed

violations of law, but because it would reveal intelligence capabilities as well as conceal

violations of law. Because of this limitation, this provision is extraordinarily difficult to trigger,

but in this particular case it comes into play.

        Simply put, Plaintiffs have ably demonstrated all the ways in which the information being

withheld by the Government is not confidential or closely held, generally due to the actions of

the Government. The logical conclusion, then, is that if the Government does classify this

information, then it is not for any of the usual reasons, which clearly do not apply. This places

any such classification decision squarely in the categories described by Section 1.7(a), which

necessarily means that, according to the Executive Branch’s own rules, it cannot be properly

classified. This fact alone justifies Plaintiffs’ stated concern that “‘government officials may be

motivated to invoke the state secrets privilege’ . . . by illegitimate and self-serving reasons.”

(Pls.’ Resp. at 17 (quoting Mohamed v. Jeppesen Dataplan, Inc. 614 F.3d 1070, 1085 n.8 (9th

Cir. 2010) (en banc)).) And, as noted above, if it is not properly classified, this Court would be

the first to allow it to be withheld under the state secrets privilege.

III.    THIS COURT IS COMPETENT

        As the D.C. Circuit has stressed, “deference is not equivalent to acquiescence.” Campbell

v. DOJ, 164 F.3d 20, 30 (D.C. Cir. 1998). Moreover, “there comes a point where [a] Court

should not be ignorant as judges of what [they] know as men [and women].” Watts v. Indiana,

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338 U.S. 49, 52 (1949). It is for these two reasons that the D.C. Circuit has held that it is entirely

proper for a District Court to “rel[y] on its own experience with litigation involving highly

sensitive government information and its confidence that the Government’s security concerns

could be accommodated” when adjudicating a state secrets privilege invocation. In re United

States, 872 F.2d 472, 478 (D.C. Cir. 1989). The Court does not need to pretend that it is

unfamiliar with the issues in play in this matter, and it may rely on its own expertise with such

matters when evaluating the merits of the Government’s claim. More to the specific point of this

claim, the Circuit held in that same case that the fact that the information the Government was

attempting to withhold would be part of a bench trial and not a jury trial was relevant, because

that “will reduce the threat of unauthorized disclosure of confidential material.” Id. Needless to

say, if the Government has less legitimate need to invoke the state secrets privilege in a bench

trial than it does in a jury trial, its need to invoke it to avoid providing information to the Court

ex parte and in camera is weaker still. Given the stakes of this case and the prospect of the

Government using this privilege to avoid any semblance of accountability for its apparent

violations of the Court’s direct order, the Court should reject the Government’s claim.

                                          CONCLUSION

       “With all its defects, delays and inconveniences, men have discovered no technique for

long preserving free government except that the Executive be under the law.” Youngstown, 343

U.S. at 655 (Jackson, J., concurring). For the reasons provided above, the Court should reject the

Government’s attempt to avoid the consequences of its actions by laying claim to a privilege

which does not apply.




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                                       Respectfully submitted,

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